UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF NEW YORK

Clifford Steward, individually and on behalf of all similarly
situated persons,

Plaintiff,
~ against -

The City of New York, The New York City Board of
Education, Harold O, Levy, individually and in his official
capacity as Chancelior of the New York City Board of
Education, Felix E. Vazquez, individually and in his official
capacity as Community Superintendent of District 32 of the
New York City Board of Education, Miidred L. Boyce, The
United Federation of Teachers, and Pace University,

Defendants.

04 CV 1508 (CBA)(RML)

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Memorandum of Law In Opposition to
Detendants' Motion to Dismiss

Of Counsel:

Michael G. O'Neill
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Preliminary Statement

This case is the poster child for procedural due process. Plaintiff was enrolled in
a program created by the New York City Board of Education (the “Board”) known as
the Teaching Fellows program. Under this program, the Board agreed to pay for
plaintiff to obtain a Master’s Degree in Education, in return for which plaintiff agreed to
teach for three years in the New York Public Schools. This program was created
pursuant to New York State Department of Education Regulations which permit
qualified individuals to be certified as teachers on a transitional basis while they earn a
master’s degree. The same regulations require the school district to commit to employ
the candidate for three years, and they establish very specific procedures and guidelines
for individualized plans for supervision, observation and evaluation of these individuals,

which are to be memorialized in written agreements signed by the school district, the

educational institute, and the individual.

The Board and Pace violated the State Regulations almost from day one. The
Board assigned plaintiff to teach classes outside his area of certification, and it never
created the individualized plans for plaintiff's development as a teacher. Plaintiff was
never given the mentoring, supervision or assistance required by the state regulations:
instead, he was treated exactly in the same manner as teachers on the traditional path,
Le., who have already earned their master’s degrees and who have served as student

teachers. Plaintiff's performance was found lacking by his school administrators, and
the school principal terminated plaintiff's employment midway through the school year,

As a result, plaintiff was automatically expelled from the Teaching Fellows program.

Although the actions of the schoo! principal were in direct contravention of the
State Regulations governing the Teaching Fellows program, plaintiff was given no
opportunity, pre or post deprivation, to challenge her actions. His sole remedy was to
pursue a grievance under the collective bargaining agreement between the Board and
the United Federation of Teachers, which contained no provisions relating to Teaching
Fellows and which did not provide any means of restoring plaintiff to the Teaching

Fellows program. Indeed, nearly two full years passed from the date of plaintiff's

termination until the scheduled arbitration.

As shown herein, plaintiff clearly had a property interest in his continued
participation in the Teaching Fellows program. Plaintiff should have been given a pre-
deprivation hearing at which he could have established that the school principal’s
proposed actions were in violation of State Regulations. Accordingly, plaintiff may
maintain this action to remedy the Board’s failure to provide any due process rights to

him before stripping him of his participation in the Teaching Fellows program.

Facts and Prior Proceedings

The New York City Teaching Fellows is a program designed to bring
individuals from other walks of life into the teaching profession as a means of
alleviating the shortage of certified teachers in the New York City public school system.

The principal feature of the Teaching Fellows program is that the Board of Education

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arranges and pays for a Master’s Degree program, in return for which the Teaching

Fellow agrees to teach in New York City schools for the duration of the program.

The program is built around regulations issued by the New York State
Department of Education for certification of so-called “alternate route” teachers,
meaning individuals who come to the teaching profession from other disciplines. Under
these regulations, individuals enrolled in a qualified Master’s Degree program are given
a transitional teaching certificate. The regulations create a tripartite partnership
between the individual, the educational institution, and the school district, which
integrates the Master’s Degree program with actual teaching for three years in order to

qualify the candidate for a permanent teaching certification.’

Plaintiff was accepted into the Teaching Fellows program in May, 2001.
Complaint, §15. He was enrolled in Pace University for his Master’s Program, and

began teaching at a middle school in Brooklyn. Id., §§17-18.

Plaintiff should have been assigned to teach classes in his prospective
certification, which was Social Studies. Instead, he was given computer related courses
to teach, This was in violation of the regulations of the State Department of Education.
Moreover, also in violation of the same regulations, plaintiff was subjected to the same
observation and evaluation process as teachers on the traditional path. Plaintiff should
have been observed and evaluated according to a plan agreed to by his University

mentor and schoo! personnel, which would have been individually tailored to take into

 

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the Teaching Fellows program and the transitional certificate regulations apparently began as
we year programs, but by the time plaintiff became enrolied had become a three year program, Some of
the public literature describing the program and/or the regulations refer to it as a two year program.

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his account his teaching experience and the advice of his academic mentor. Id., €919-
23.

Not surprisingly, plaintiff's initial observations were not successful. This and
hoshlity from school administrators resulted in plaintiff being removed from the class in
January, 2002 and terminated as a teacher. Id., (28. After less than four months,
plaintiff's career as a teaching fellow was abruptly ended by a school principal who

simply ignored the New York State Department of Education Regulations applicable to

plaintiff's employment.

Plaintiff attempted to make use of the grievance and arbitration procedures
contained in the collective bargaining agreement between the UTF and the Board of
Education. Plaintiff pursued these remedies from J anuary, 2002 until December, 2003,
at which time an arbitration on his grievance was scheduled. Plaintiff, however, was
informed by his union representatives that the only relief that the Arbitrator was able to
give under the contract was to award plaintiff the remainder of his salary for the 2001-
Q2 academic year, and that in no event would he be reinstated in the Teaching Fellows
program. This was because the collective bargaining agreement contained no
provisions applicable to Teaching Fellows, and plaintiffs case would be subject to the
rules applicable to teachers on the traditional path, who have already obtained their

master’s degree and who already qualified for state certification. Id., 9929-41.

Unlike teachers on the traditional path, without a master’s degree in Education

and without certification, plaintiffs hope for a career as a teacher was ended, whether
he won or lost the arbitration.” Realizing that the arbitration provided no remedy
whatsoever, plaintiff withdrew from the process and elected to pursue his rights in

court. Id., §41.
Argument

1. Plaintiff Had A Constitutionally Protected Property Interest In
His Continued Participation In The Teaching Fellows
Program.

Plaintiff agrees that a probationary employee in New York State ordinarily has
no constitutionally protected property interest in continued employment. The reason for
this is simple. Procedural due process safeguards come into play only when an
employee has a legitimate expectation of continued employment, which must be derived
from something other than the employee’s unilateral “abstract need or desire.” Ezekswo
v. New York City Health and Hospitals Corporation, 940 F.2d 775 (2d Cir. 1991). New
York Education Law §2573 provides in pertinent part that “the service of a person
appointed to any of such positions [i.e., a probationary employee] may be discontinued
at any time during such probationary period, on the recommendation of the
superintendent of schools, by a majority vote of the board of education.” This language
provides no basis for a “legitimate claim of entitlement to it [continued employment].
Ba. of Regents of State Coll. v. Roth, 408 U.S. 564, 577, 92 S.Ct. 2701, 33 L.Ed.2d 548

(1972).

The New York Courts, however, have repeatedly held that other statutes, rules,

regulations and Board of Education By-Laws can impose limitations on the termination

 

Teachers on the traditional path who are terminated during their probation are nonetheless
eligibic to teach in other schools -- their careers are not ended in the same manner as plaintiffs.
of probationary teachers. In Lehman y. Board Of Education, 82 A.D.2d 832 (2™ Dept.
1981), a “special circular” promulgated by the Chancellor of the Board of Education,
designed to "clarify the administrative and supervisory roles of both district and bureau
personnel," was held to create legally enforceable tights concerning the termination of
probationary teachers. Similarly, in Longarzo v. Anker, 78 Misc.2d 977 (Sup. Kings
1974), the court held that the failure to abide by the Board of Education bylaws in
providing an unsatisfactory rating to a probationary teacher violated the teacher’s
constitutional due process rights (citing Bd. of Regents of State Coll. v. Roth, 408 US.

564, 92 S.Ct. 2701, 33 L.Ed.2d 548 (1972)).

Thus, the effect of Education Law §2573 on this case is simply neutral. Nothing
in that statute provides any basis for a probationary teacher to form a “legitimate
expectation” of continued employment. By the same token, nothing in that statute
prevents the Board of Education from voluntarily adopting restrictions on the manner or
reason for terminating probationary teachers. The most clear illustration of this last
point is in the collective bargaining agreement (“CBA”) entered into between the Board
of Education and the United Federation of Teachers. The New York Courts have
consistently recognized the validity of limitations on the termination of probationary
_ teachers contained in the CBA, even if they are limitations on the ri ght to discontinue
probationary teachers “at any time” contained in Education Law $2573. See, e.g.,

Schwartz v. Board of Education, 536 N.Y.S.2d 500, 301 Qn Dept. 1989):

A probationary teacher's right to a review of the Chancellor's
decision to discontinue his or her services is neither constitutional nor
statutory, but is contained in the collective bargaining agreement to
which the respondents have promised to adhere (see, Matter of Frasier v.
Board of Educ. of City School Dist. of N.Y., 71 N.Y 2d 763, 768, 530
N.Y.S.2d 79, 525 N.E.2d 725). The right is set forth in Section 5.3.4 of
the Board's by-laws and in Special Circular 45, 1974-75. The by-laws
and the Special Circular are rules and regulations which are binding
upon the Board and which the Board may not waive (see, Matter of
Lehman v. Board of Edue. of City School Dist. of City of N.Y., 82
A.D.2d 832, 833, 439 N-Y.S.2d 670).

See also Brown v. Board of Educ., 42 A.D.2d 702 ar Dept. 1979).

In this case, the State Department of Education Regulations were similarly
binding on the Board of Education. In creating the Teaching Fellows Program and
taking advantage of the transitional certificate offered by the regulations in question, the
Board necessarily agreed to submit to those regulations as a matter of law. Moreover,
since plaintiff alleges that he had a constitutionally protected property interest in his
continued participation in the Teaching Fellows program, this Court must look beyond
the employment itself and examine all of the facts and circumstances relating to the
Teaching Fellows Program in order to determine the sufficiency of plaintiff's

allegations.

Remarkably, nowhere in their moving papers do defendants provide any
background or discussion of the Teaching Fellows program, nor do they explain how
the Court can decide, in a legal and factual vacuum,? that plaintiff had no property
interest in his continuing participation in that program Defendants’ motion should be

denied for legal insufficiency on this ground alone.

Plaintiif’s ability to present the Court with detailed documentary information
about the Teaching Fellows Program is hindered by the fact that he does not have the

same access to it as defendants, and he has not yet had the benefit of discovery.

 

itis worth noting that, at the pre-motion conference held with respect to defendants’ motion. the
Court made the very common-sensical proposition that the parties should engage in limited discovery
concerning the teaching fellows Program in order to provide a sufficient factual background for
determination of these issues, and defendants resisted that suggestion.

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Nevertheless, even the information that is publicly available demonstrates beyond any
doubt that plaintiff's expectations of continued participation in the Teaching Fellows
Program were entirely legitimate and sufficient to give rise to a constitutionally

protected property interest.

The Teaching Fellows program was first announced on April 26, 2000 and
formally created in late May, 2000. http:/Avww.nycenet.edu/secretary/calendar/03-?1-
Ol/calendar.htm. The April 26, 2000 announcement and the May, 2000 creation of the

teaching fellows program are not publicly available, and plaintiff intends to seek them

through discovery.

In implementing the Teaching Fellows Program. the Board of Education entered
into contracts with a number of Universities in the metropolitan area to provide
“approved alternate route teacher education programs.” The Board referred to these
Universities as its “partners” in the Teaching Fellows Program, and it entered into
contracts with them for a wide variety of mandated services at a cost per Teaching
Fellow of $12,000. By far the most significant feature of the contract between the
Board of Education and the Universities was the full payment of the Teaching Fellows’
tuition for a Master’s Degree in Education.

http: www.nycenet.edw/secretary/calendar/Q5-16-01/calendar.him#3.

The Teaching Fellows Program was required by law to comply with regulations
of the New York State Department of Education relating to alternate routes to teacher
certification. These regulations are published at § NYCRR 52.21 and 8 NYCRR 80-
5,13. Copies of these regulations are annexed hereto as Appendices A and B,

respectfully, for the Court’s convenience.

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section 80-5.13 of the regulations describes the teaching certificate established
by these reguiations, called a “Transitional B Certificate.” In order to receive a
Transitional B Certificate, the certificate holder must meet three categories of

requirements: (i) education; (ii) examination and (aii) employment. 80-5.13 (aj).

The education requirement is three fold. The candidate must have at least a
Bachelor’s Degree from an accredited institution, he or she must have completed the
introductory component of “an alternative teacher certification program” meeting the
requirements of 52.21(b)(3)(xvii) of the regulations, and he or she must be enroiled in
an “an alternative teacher certification program” leading to the conferment of a Master’s
Degree meeting the requirements of 52.21(b)(3)(xvii) of the regulations. 80-

5.13(a}(2)(1).

The examination requirement is that the candidate must pass certain qualifying

examinations. This requirement is not at issue in this case. 80-5.13(a)(2)(ii).

The employment requirement is that the candidate must “submit satisfactory
evidence of having a commitment from a school or school district of employment as a
full- time teacher with the school or school] district in the area of the certificate sought
for at least three school years, which shall include at least one year of mentoring as

prescribed in section 52.21(b)(3)(xvil} of this Title.” 80-5,13(a)(2) ii).

Section 52.21(b)(3)(xvil) is relevant because it describes the requirements of the
educational program in which Teaching Fellows must be enrolled, and because it
describes the mentoring that the school district is required to give to the Teaching

Fellows during the first year of employment.

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The regulations require candidates to receive “mentoring and supervision during
the entire period that they are both teaching and enrolled in the program . . ..” Section
52.21(b)(3)(xvii}(b)(3)Gi). The regulations are extremely specific as to the nature of the
mentoring and supervision. Before the candidate is to begin teaching, the educational
institution (in this case Pace) and the employing school district (in this case the Board
of Education) must execute a written agreement (the “First Mentoring Agreement’)

setting forth the following detailed provisions:

* The school district must consult with both the institution and the

candidate before determining the teaching load of the candidate;

* The school district must agree to provide daily mentoring of the
candidate by certified school personne! during the first eight weeks of

teaching; and

¢ The school district must agree to execute, before the end of the first eight
weeks of teaching, a second written agreement for continued mentoring
by certified schoo! personnei during the remainder of the time that the

candidate is enrolled in the program and teaching.
Section 52.21(b)(3)(xvii}(b)(3) GiB).

The First Mentoring Agreement must also provide that all mentoring will be
provided by certified school personnel who have received preparation for their role as
mentors prior to serving as mentors. Finally, the First Mentoring Agreement must also

include scheduled times during the candidate's first eight weeks of teaching for the
candidate and mentor to engage in planning, observation, advisement, and evaluation.

Section 52.21 b)3)viiKb\B)GNO.

As noted above, within the first eight weeks of teaching, the Board of Education
is required to enter into a second written agreement (the “Second Mentoring
Agreement”) with the institution and the teacher. That agreement is to include a
schedule for continued mentoring during the remainder of the time that the candidate is
enrolled in the program and teaching and is to be designed to meet the individual
learning needs of the candidate. Section 32.2 1(b)\3)(xvi}\(b\(3)GiMD) The Second
Mentoring Agreement must specify times, periodically throughout each schoo! year, for
the candidate and mentor to engage in planning, observation, advisement, and
evaluation. lt must also specify dates for meetings of program faculty, the school
principal or designee, the mentor, and the candidate at least once every three months
during the first year of mentored teaching and periodically thereafter, to provide the

candidate with advice for improving teaching practices. Id.

The Second Mentoring Agreement can be modified only with the consent of

both the institution and the teacher. Section 52.21(6)(3)(xvii)(b)(3 Gi XE).

Several important observations can be made from the above facts. The
Transitional B regulations (and hence the Teaching Fellows Program) clearly
recognized that alternate route candidates needed different kinds of mentoring,
observation and supervision than teachers following the traditional route to certification.
As a result, the regulations mandated that the school district and educations institutions
enter into formal, written contracts containing specific provisions relating to teaching

load, intensive levels of mentoring, regular classroom observations, advisement and

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evaluation. Significantly, these contracts could not be altered without the agreement of

the candidate himself or herself.

These are exactly the kinds of regulations that give rise to constitutionally
protected property rights, and defendants do not argue that plaintiff had no property
interest in these contracts or the benefits conferred by them. It is clear beyond dispute
that plaintiff had a legitimate expectation, based on these regulations, that the Board of
Education would enter into and perform the contracts required by State law. That being
the case, it is only a matter of logic that plaintiffs protected property interest extended
to his participation in the Teaching Fellows Program, including his continued

employment.

The State Department of Education regulations at issue go to the very heart of
the employment relationship. As a preliminary matter, they require a school district to
provide a written three year commitment of employment. 8 NYCRR 80-5.13(a)(2\(iii).
This commitment was not for Just any kind of employment, but employment that
included the mentoring mandated by 8 NYCRR 52.21(b)(3)(xvii). The written
mentoring agreements mandated under 52.21(b)(3)(xvii)(b)(3)(ii)(B) et seq. included
specific details on how candidates were to be supervised, observed and evaluated,
which differed from the rules applicable to probationary teachers on the traditional route

to certification.”. Clearly then, Transitional b teachers (and hence, Teaching Fellows)

 

‘ The rules for observation and evaluation of traditional route probationary teachers are contained

in Article & of the collective bargaining agreement between the Board of Education and the United
Federation of Teachers, available online at

https www.uflorg- member rights/contracts/current teachers. contractarticle cient. That contract refers
lo a document entitled “Teaching For the 21" Century,” located online at

bupivwww.uflorgleader teaching for th/index.biml. Access to that document, however, is apparently
restricted to authorized users, of which the undersigned is not one. The same web site states that the UFT

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have legitimate expectations, grounded in state law, that the Board of Education will
keep its three year commitment and comply with the regulations applicable to that

employment commitment, including the contracts mandated thereunder.

Simple logic compels the conclusion that a three year commitment of
employment means exactly what it says, and the plain meaning of this regulation is
enough to create a legitimate expectation that the employment will continue for the
three years required by law, absent just cause to terminate it. Defendants’ only
argument to the contrary is that Education Law $2573 precludes any probationary
teacher from claiming any due process rights with respect to his employment. As
discussed above, however, the Board of Education regularly, either through regulations,
by-laws, or collective bargaining agreements, imposes limitations on its ability to

terminate transitional teachers “at any time.”

Again, simple logic tell us that if the Board of Education can be compelled to
adhere to the limitations on the termination of probationary teachers contained in the
CBA and elsewhere, nothing prevents the Board of Education from promising to adhere
to the three year commitment of employment which the State Department of Education
regulations required as a condition for allowing the Board of Education to employ
alternate route teachers under the Transitional B certificate. This is to say nothing more
than that the New York courts require the Board of Education to adhere to the promises
that it makes, whether by contract or by-laws. The Board promised to employ plaintiff

for three years, and this is enough to give rise to a legitimate expectation of continued

 

contract requires probationary teachers to receive at least two formal observations per year.
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employment on the part of the plaintiff. This expectation is firmly grounded in state

law and is in no way a mere unilateral hope or desire.

As noted above, plaintiff's complaint does not merely address the termination of
his employment, but his termination from the Teaching Fellows Program. This program
provided more than employment to the plaintiff. It also provided full payment for his
enrollment in a Master’s Degree program, which would permit him to become a fully
licensed, permanent teacher. See complaint, 17. When plaintiff was terminated, he
was deprived of more than a job, but also of this extremely valuable benefit. Plaintiff
clearly had a property interest in the full scholarship for his Master’s Degree provided
by the Teaching Fellows program. Coleman v. Newburgh Enlarged City School
District, 319 F.Supp.2d 446 (S.D.N.Y. 2004)holding that a college scholarship is a
protected property interest), Similarly, the Board’s underwriting the entire cost of
plaintiffs Master’s Degree makes his interest in continuing in the Teaching Fellows
program analogous to the property interest of a student at a State University, which
cannot be taken for disciplinary reasons without adequate due process safeguards.
Winnick v. Manning, 460 F.2d 545 (2d Cir. 1972). Cf Garcia v. State University Of
New York Health Sciences Center At Brooklyn, 2000 WL 1469551 (E.D.NLY.
2000)(recognizing plaintiff's property interest in his continued enrollment that could not
be deprived without due process). The fact that plaintiff was attending Pace University,
a private university, does not change anything. The operative fact is that plaintiff was
enrolled in the Teaching Fellows program, which is entirely a creature of the Board of
Education, which contracted separately with a number of local universities, public and

private, to provide an education (and other services) to the Teaching Fellows in

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accordance with state regulations and the specifications of the Teaching Fellows
program. The particular university to which a teaching fellow was assigned was
essentially random. See http://www.nycencet.edu/secretary/calendar/05-!6-

Ol /calendar htm#3:

As the Board’s college and university partners, these institutions
will provide pre-service training, in-service coursework, monthly faculty
observations, and support services, to the alternate route candidates over
approximately a two-year period. All of the institutions in the
consortium have agreed to meet a common set of standards and to
deliver the services for the same cost-efficient price.

The proposed contract includes both pre-service training and
related support activities, and the in-service component of the program,
including tuition, student fees, monthly faculty observations, certificate
processing, academic support services, and administrative fees. The cost
is $12,000 per Alternative Certification candidate, based on a negotiated
cost structure that reflects CUNY rates. The proposed contract amounts
for each institution reflect their estimated capacity. In addition, the
colleges wiil be reimbursed at negotiated rates for pre-approved
coursework required of candidates over and above the regular Master’s
program. Teachers will be assigned to colleges according to the district
in which they work. Upon the successful completion of the college
program, it is expected that each Alternative Certification candidate will
be awarded a Master’s Degree in Education, and will be recommended to
the New York State Department of Education for Provisional, Permanent
or Initial Teacher Certification.

Since plaintiff had a property right in continuing his education, the Board could

not deprive him of that right for disciplinary reasons without granting him a pre-

deprivation hearing.

2. Defendants Misinterpret the Law Regarding Post Deprivation

Remedies

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Little space need be devoted to answering defendants’ arguments regarding post
deprivation remedies. Defendants have simply misinterpreted the law. As explained by
the Second Circuit in Hellenic American Neighborhood Action Committee v. New York,

101 F.3d 877, 880 (2d Cir. 1996):

When reviewing alleged procedural due process violations, the
Supreme Court has distinguished between (a) claims based on
established state procedures and (b) claims based on random,
unauthorized acts by state employees. In the latter case, the Due Process
Clause of the Fourteenth Amendment is not violated when a state
employee intentionally deprives an individual of property or liberty, so
long as the State provides a meaningful post deprivation remedy. When
the deprivation occurs in the more structured environment of established
state procedures, rather than random acts, the availability of post
deprivation procedures will not, ipso facto, satisfv due process.

(internal citations omitted, emphasis added)

Here, defendants simply conflate plaintiff's allegations of due process violations (i.c.,
the absence of a pre-deprivation hearing) with plaintiff's allegations that the school
administrators lacked sufficient reasons for terminating his employment. This
confusion is puzzling, since defendants correctly recognized on page 10 of the
Memorandum of Law the distinction between the issues going to factual basis for
plaintiff's termination and the issue of what process was due to him. By page 14 they
have forgotten this principle and appear to be arguing that plaintiff’s allegations
regarding the reasons for his termination constitute allegations of “random,
unauthorized acts” for which a post deprivation hearing would be a sufficient remedy.
This is an incorrect reading of the complaint, the law, or both. The Second Circuit
continued explanation in Hellenic American Neighborhood Action Committee, supra is

instructive:

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The Supreme Court's different treatment of the two situations
rests on pragmatic considerations. When a deprivation occurs because of
a random, arbitrary act by a state employee "{i]t is difficult to conceive
of how the State could provide a meaningful hearing before the
deprivation takes place. The loss of property, although attributable to
the State as action under ‘color of law,' is ... almost ... [invariably]
beyond the control of the State. Indeed, in most cases it is not only
impracticable, but impossible, to provide a meaningful hearing before
the deprivation.” (internal citations omitted)

It ts plain that plaintiffs due process allegations in this case relate to actions
taken by the defendants in the structured environment of established state procedures. It
is ludicrous to suggest that defendants could not, as a practical matter, have provided a
meaningful hearing before the deprivation. Indeed, defendants regularly provide such

pre-deprivation hearings in the case of tenured teachers.”

3. Plaintiff's allegations against Levy are sufficient.

At this juncture, it would be premature to dismiss plaintiff's complaint against
Levy. The complaint sufficient alleges that Levy knowingly and intentionally chose not
to afford adequate due process procedures for the Teaching Fellows, notwithstanding
his awareness that such procedures were constitutionally mandated. Nothing more is
needed to state a cause of action against Levy in his personal capacity.

4. Defendants’ Arguments regarding Supplemental Jurisdiction
are mooted by the continued viability of his federal claims.

Since, as shown above, defendants’ motion to dismiss plaintiffs federal claims
should be denied, the Court need not address the question of exercising supplementa!

jurisdiction over plaintiff's state law claims.

 

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Moreover, as noted above, the grievance and arbitration proceeding could not reinstate plaintiff
to the Teaching Fellows Program, so it was clearly not an adequate post deprivation remedy in any sense
of the ward,
Conclusion

Defendants’ motion should be denied.

Dated: New York, New York
December 31, 2004

MICHAEL G. O’NEILL
(MO3957)}

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